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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                 CASE NO. 9:18-CV-81276-ROSENBERG/REINHART


  UNITED STATES OF AMERICA,

               Plaintiff,

  v.

  DANIELA DADURIAN,

          Defendant.
  ______________________________/


                                 JURY INSTRUCTIONS

  Introduction

        Members of the jury:

        It’s my duty to instruct you on the rules of law that you must use in deciding

  this case.

        When I have finished you will go to the jury room and begin your discussions,

  sometimes called deliberations.
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  The Duty to Follow Instructions

        Your decision must be based only on the evidence presented here. You must

  not be influenced in any way by either sympathy for or prejudice against anyone.

        You must follow the law as I explain it – even if you do not agree with the

  law – and you must follow all of my instructions as a whole. You must not single

  out or disregard any of the instructions on the law.

        The fact that a governmental entity or agency is involved as a party must not

  affect your decision in any way. A governmental agency and all other persons stand

  equal before the law and must be dealt with as equals in a court of justice. When a

  governmental agency is involved, of course, it may act only through people as its

  employees; and, in general, a governmental agency is responsible under the law for

  the acts and statements of its employees that are made within the scope of their duties

  as employees of the governmental agency.
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  Consideration of Direct and Circumstantial Evidence; Argument of Counsel;
  Comments by the Court

        As I said before, you must consider only the evidence that I have admitted in

  the case. Evidence includes the testimony of witnesses and the exhibits admitted.

  But, anything the lawyers say is not evidence and isn’t binding on you.

        You shouldn’t assume from anything I’ve said that I have any opinion about

  any factual issue in this case. Except for my instructions to you on the law, you

  should disregard anything I may have said during the trial in arriving at your own

  decision about the facts.

        Your own recollection and interpretation of the evidence is what matters.

        In considering the evidence you may use reasoning and common sense to

  make deductions and reach conclusions. You shouldn’t be concerned about whether

  the evidence is direct or circumstantial.

        “Direct evidence” is the testimony of a person who asserts that he or she has

  actual knowledge of a fact, such as an eyewitness.

        “Circumstantial evidence” is proof of a chain of facts and circumstances that

  tend to prove or disprove a fact. There’s no legal difference in the weight you may

  give to either direct or circumstantial evidence.
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  Credibility of Witnesses

        When I say you must consider all the evidence, I don’t mean that you must

  accept all the evidence as true or accurate. You should decide whether you believe

  what each witness had to say, and how important that testimony was. In making that

  decision you may believe or disbelieve any witness, in whole or in part. The number

  of witnesses testifying concerning a particular point doesn’t necessarily matter.

        To decide whether you believe any witness I suggest that you ask yourself a

  few questions:

        1. Did the witness impress you as one who was telling the truth?

        2. Did the witness have any particular reason not to tell the truth?
        3. Did the witness have a personal interest in the outcome of the case?
        4. Did the witness seem to have a good memory?

        5. Did the witness have the opportunity and ability to accurately
           observe the things he or she testified about?

        6. Did the witness appear to understand the questions clearly and
           answer them directly?

        7. Did the witness’s testimony differ from other testimony or other
           evidence?
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  Impeachment of Witnesses Because of Inconsistent Statements

        You should also ask yourself whether there was evidence that a witness

  testified falsely about an important fact. And ask whether there was evidence that at

  some other time a witness said or did something, or didn’t say or do something, that

  was different from the testimony the witness gave during this trial.

        But keep in mind that a simple mistake doesn’t mean a witness wasn’t telling

  the truth as he or she remembers it. People naturally tend to forget some things or

  remember them inaccurately. So, if a witness misstated something, you must decide

  whether it was because of an innocent lapse in memory or an intentional deception.

  The significance of your decision may depend on whether the misstatement is about

  an important fact or about an unimportant detail.
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  Responsibility for Proof – Plaintiff’s Claim– Preponderance of Evidence

          In this case it is the responsibility of the United States to prove every essential

  part of its claims by a “preponderance of the evidence.” This is sometimes called the

  “burden of proof” or “burden of persuasion.”

          A “preponderance of the evidence” simply means an amount of evidence that

  is enough to persuade you that the United States’ claim is more likely true than not

  true.

          If the proof fails to establish any essential part of a claim or contention by a

  preponderance of the evidence, you should find against the United States.

          In deciding whether any fact has been proved by a preponderance of the

  evidence, you may consider the testimony of all of the witnesses, regardless of who

  may have called them, and all of the exhibits received in evidence, regardless of who

  may have produced them.

          If the proof fails to establish any essential part of the United States’ claim by

  a preponderance of the evidence, you should find for Dr. Dadurian as to that claim.
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  Duty to Deliberate

        Your verdict must be unanimous – in other words, you must all agree. Your

  deliberations are secret, and you’ll never have to explain your verdict to anyone.

        Each of you must decide the case for yourself, but only after fully considering

  the evidence with the other jurors. So you must discuss the case with one another

  and try to reach an agreement. While you’re discussing the case, don’t hesitate to

  reexamine your own opinion and change your mind if you become convinced that

  you were wrong. But don’t give up your honest beliefs just because others think

  differently or because you simply want to get the case over with.

        Remember that, in a very real way, you’re judges – judges of the facts. Your

  only interest is to seek the truth from the evidence in the case.
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  Legal Background—Requirement to Report Foreign Financial Accounts

        To help you understand the context in which the United States is seeking

  penalties against Daniela Dadurian, I need to provide you with some background

  regarding the reporting requirement at issue in this case.

        United States citizens and residents are subject to taxes on their worldwide

  income, regardless of where it is earned. To ensure compliance with that

  requirement, certain Taxpayers must annually disclose to the federal government if

  they hold a financial account in a foreign country. Those who must disclose such

  accounts are required to do so by filing a Form TD F 90-22.1, commonly known as

  an “FBAR,” which stands for a Report of Foreign Bank and Financial Accounts.

        If at any time during a calendar year a taxpayer has a financial interest in, or

  signature or other authority over one or more financial accounts in a foreign country

  with a total balance exceeding $10,000, the taxpayer must file an FBAR with the

  Department of the Treasury by June 30 of the following year. For the years 2007,

  2008, and 2009, the IRS extended this deadline for persons who had signature or

  other authority over but no financial interest in foreign financial accounts. The IRS

  extended this deadline to November 1, 2011. The FBAR filing requirement is a

  separate and additional obligation on top of filing a federal income tax return.

        A person who must file an FBAR but fails to timely do so may be subject to

  civil penalties. Under the statute, a separate penalty may apply for each violation. In
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  other words, a taxpayer may be liable for a separate penalty for each account every

  year he or she fails to file an FBAR. The penalties are larger if the person willfully

  failed to file the FBAR.
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   What Issues the Jury Is To Decide

         The United States claims that Dr. Dadurian willfully failed to report her

   relationship to foreign financial accounts on FBAR forms that she was required to

   file for the Tax Years 2007, 2008, 2009, and 2010.

         There are four elements the United States must prove by a preponderance of

   the evidence with respect to each account for each Tax Year:

         First, that at the time of her reporting obligation, Dr. Dadurian was a “U.S.

   Person.”

         Second, that Dr. Dadurian had a financial interest in, or signature or other

   authority over the account.

         Third, the foreign accounts over which Dr. Dadurian had a financial interest

   in or signature or other authority over had an aggregate balance of $10,000 or more

   during the tax years 2007, 2008, 2009, and 2010.

         Fourth, that Dr. Dadurian willfully failed to report her relationship to the

   foreign financial account during the given Tax Year on an FBAR form by the date

   that report was due.

         The law requires me to decide whether the amount of any penalty is

   appropriate, so the size of any penalty should not be part of your consideration.

         You must evaluate each of these elements with respect to each account for

   each of Tax Years 2007, 2008, 2009, and 2010.
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         To assist you in evaluating these elements, I will now provide you with some

   further explanation.

         With respect to the first element, the Parties agree that it is not disputed in this

   case, and you are to consider this element proven for all years.

         With respect to the second element, you will determine if Dr. Dadurian had a

   “financial interest” in each account or if she merely had “signature or other authority

   over” the accounts. Financial interests are reported on “Part II” of an FBAR form.

   Mere “signature or other authority over” an account is reported on “Part IV” of an

   FBAR form.

         You should find that Dr. Dadurian had a “financial interest” in an account if

   you find any one of the following three numbered paragraphs with respect to that

   account and for that Tax Year.

                1.     Dr. Dadurian was the owner of record or had legal title of the

   account, whether the account was maintained for her own benefit or for the benefit

   of others including non-United States persons.

                2.     The owner of record or holder of legal title of the account was:

                      (a) a person acting as an agent, nominee, attorney, or in some

   other capacity on behalf of Dr. Dadurian;
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                       (b) a corporation in which Dr. Dadurian owned directly or

   indirectly more than 50 percent of the total value of shares of stock or more than 50

   percent of the voting power for all shares of stock; or

                       (c) a trust in which Dr. Dadurian either had a present beneficial

   interest, either directly or indirectly, in more than 50 percent of the assets or from

   which Dr. Dadurian received more than 50% current income.

                3.     The owner of record or holder of legal title of the account is a

   trust, or a person acting on behalf of a trust, that was established by Dr. Dadurian

   and for which a trust protector has been appointed. A trust protector is a person who

   is responsible for monitoring the activities of a trustee, with the authority to influence

   the decisions of the trustee or to replace, or recommend the replacement of, the

   trustee.

         Dr. Dadurian had “signature or other authority” over an account if she could

   control the disposition of money or other property in it by delivery of a document

   containing her signature (or her signature and that of one or more other persons) to

   the bank or other person with whom the account is maintained. Dr. Dadurian had

   “other authority” if she could exercise comparable power over an account by

   communication with the bank or other person with whom the account is maintained,

   either directly or through an agent, nominee, attorney, or in some other capacity,

   either orally or by some other means.
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         With respect to the third element, the Parties agree that it is not disputed in

   this case, and you are to consider this element proven for all years.

         With respect to the fourth element, you will determine whether Dr. Dadurian’s

   failure to report her relationships by filing an FBAR on time was willful. You will

   do this for each account for each year.

         Willfulness is conduct that is voluntary, rather than accidental or unconscious.

   Because willfulness is a state of mind, you can find willfulness by drawing

   reasonable inferences from the available facts.

         To establish willfulness, the United States does not have to prove that Dr.

   Dadurian knew she was acting wrongly. An improper motive or bad purpose is not

   necessary. Similarly, to establish willfulness, the United States does not need to

   prove that Dr. Dadurian actually knew of the specific reporting requirements she

   violated. If you find that Dr. Dadurian did actually know of the reporting

   requirements, you may take that into account when deciding whether Dr. Dadurian

   acted willfully.

         Willfulness covers not only knowing violations, but reckless ones as well. A

   person commits a reckless violation of the FBAR statute by engaging in conduct

   entailing an unjustifiably high risk of harm that is either known or so obvious that it

   should be known. A person recklessly—and therefore willfully—fails to comply

   with a filing requirement when he or she (1) clearly ought to have known that
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   (2) there was a grave risk that the filing requirement was not being met and if (3) he

   or she was in a position to find out very easily.

           The United States can also establish that Daniela Dadurian’s conduct was

   willful by showing that she was “willfully blind.” In order to demonstrate willful

   blindness, Dr. Dadurian must have subjectively believed that there was a high

   probability that she had an FBAR reporting requirement and she must have taken

   deliberate actions to avoid learning of that fact.

           With further respect to the fourth element, you are to consider whether Dr.

   Dadurian willfully failed to report her relationship on an FBAR by the date that the

   report was due. Ordinarily, an FBAR form is due on June 30 of the year following

   the Tax Year at issue. For Tax Years 2007, 2008, and 2009, the deadline for reporting

   signature or other authority over but no financial interest in a foreign financial

   account on an FBAR form was extended to November 1, 2011. For Tax Years 2007,

   2008, and 2009, the deadline for reporting a financial interest in a foreign financial

   account remained June 30 of the year following the Tax Year at issue. For Tax Year

   2010, the deadline for reporting any relationship on an FBAR form was June 30,

   2011.
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   Election of Foreperson; Explanation of Verdict Form.

         When you get to the jury room, choose one of your members to act as

   foreperson. The foreperson will direct your deliberations and speak for you in court.

         A verdict form has been prepared for your convenience.

                                      [Explain verdict]

         Take the verdict form with you to the jury room. When you’ve all agreed on

   the verdict, your foreperson must fill in the form, sign it and date it. Then you’ll

   return it to the courtroom.

         If you wish to communicate with me at any time, please write down your

   message or question and give it to the court security officer. The court security

   officer will bring it to me and I’ll respond as promptly as possible – either in writing

   or by talking to you in the courtroom. Please understand that I may have to talk to

   the lawyers and the parties before I respond to your question or message, so you

   should be patient as you await my response. But I caution you not to tell me how

   many jurors have voted one way or the other at that time. That type of information

   should remain in the jury room and not be shared with anyone, including me, in your

   note or question.
